          Case 24-01184-JBM11                       Filed 09/18/24        Entered 09/18/24 09:04:38             Doc 58     Pg. 1 of
                                                                           25
Fill in this information to identify the case:

            Barrio Restaurant Group, LLC
Debtor Name __________________________________________________________________


United States Bankruptcy Court for the: _______
                                        SouthernDistrict  ________
                                                Districtofof California

                                                                                                                       Check if this is an
Case number: 24-01184-CL11
             _________________________
                                                                                                                         amended filing




Official Form 425C

M o n t h l y Op e r a t i n g Re p o r t f o r Sm a l l B u s i n e s s U n d e r Ch a p t e r 1 1                                       12/17

Month:                 July 2024
                      ___________                                                                Date report filed:    09/09/2024
                                                                                                                       ___________
                                                                                                                       MM / DD / YYYY

                   Restaurant
Line of business: ________________________                                                       NAISC code:           722511
                                                                                                                       ___________

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party:                           Margarita Georgieva
                                             ____________________________________________

Original signature of responsible party      /s/Margarita Georgieva
                                             ____________________________________________

Printed name of responsible party            Margarita Georgieva
                                             ____________________________________________


              1 . Qu e s t i o n n a i r e
    Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
                                                                                                                            Yes     No        N/A
          If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

    1.   Did the business operate during the entire reporting period?                                                                       
    2.   Do you plan to continue to operate the business next month?                                                                        
    3.   Have you paid all of your bills on time?                                                                                           
    4.   Did you pay your employees on time?                                                                                                
    5.   Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                                    
    6.   Have you timely filed your tax returns and paid all of your taxes?                                                                 
    7.   Have you timely filed all other required government filings?                                                                       
    8.   Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                                    
    9.   Have you timely paid all of your insurance premiums?                                                                               
          If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.
    10. Do you have any bank accounts open other than the DIP accounts?                                                                     
    11. Have you sold any assets other than inventory?                                                                                      
    12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?                               
    13. Did any insurance company cancel your policy?                                                                                       
    14. Did you have any unusual or significant unanticipated expenses?                                                                     
    15. Have you borrowed money from anyone or has anyone made any payments on your behalf?                                                 
    16. Has anyone made an investment in your business?                                                                                     
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                                                                    25

Debtor Name   Barrio Restaurant Group, LLC
              _______________________________________________________                             24-01184-CL11
                                                                                      Case number_____________________________________




    17. Have you paid any bills you owed before you filed bankruptcy?                                                                  
    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                                    


              2 . Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                                4,296.32
                                                                                                                            $ __________
        This amount must equal what you reported as the cash on hand at the end of the month in the previous
        month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
        Attach a listing of all cash received for the month and label it Exhibit C. Include all
        cash received even if you have not deposited it at the bank, collections on
        receivables, credit card deposits, cash received from other parties, or loans, gifts, or
        payments made by other parties on your behalf. Do not attach bank statements in
        lieu of Exhibit C.
        Report the total from Exhibit C here.                                                             61,689.19
                                                                                                      $ __________

    21. Total cash disbursements
        Attach a listing of all payments you made in the month and label it Exhibit D. List the
        date paid, payee, purpose, and amount. Include all cash payments, debit card
        transactions, checks issued even if they have not cleared the bank, outstanding
        checks issued before the bankruptcy was filed that were allowed to clear this month,
        and payments made by other parties on your behalf. Do not attach bank statements
        in lieu of Exhibit D.
                                                                                                      - $ __________
                                                                                                           55,924.49
        Report the total from Exhibit D here.

    22. Net cash flow
                                                                                                                                5,764.70
                                                                                                                         + $ __________
        Subtract line 21 from line 20 and report the result here.
        This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
        Add line 22 + line 19. Report the result here.
                                                                                                                              10,061.02
        Report this figure as the cash on hand at the beginning of the month on your next operating report.              = $ __________
        This amount may not match your bank account balance because you may have outstanding checks that
        have not cleared the bank or deposits in transit.



              3. Unpaid Bills
        Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
        have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
        purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                               0.00
                                                                                                                            $ ____________

               (Exhibit E)




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                                                                      25

Debtor Name   Barrio Restaurant Group, LLC
              _______________________________________________________                                24-01184-CL11
                                                                                         Case number_____________________________________




              4. Money Owed to You
        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                                0.00
                                                                                                                               $ ____________

               (Exhibit F)



              5. Employees

    26. What was the number of employees when the case was filed?                                                                6
                                                                                                                                 ____________

    27. What is the number of employees as of the date of this monthly report?                                                   10
                                                                                                                                 ____________




              6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?                                  0
                                                                                                                               $ ____________

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?                    0
                                                                                                                               $ ____________

    30. How much have you paid this month in other professional fees?                                                            0
                                                                                                                               $ ____________

    31. How much have you paid in total other professional fees since filing the case?                                         $ 1,124
                                                                                                                                 ____________




              7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month.
        Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                     Column B                      Column C
                                        Projected                –   Actual                    =   Difference

                                        Copy lines 35-37 from        Copy lines 20-22 of           Subtract Column B
                                        the previous month’s         this report.                  from Column A.
                                        report.
                                           50,000.00
                                        $ ____________           –       61,689.19
                                                                     $ ____________
                                                                                               =       11,689.19
                                                                                                   $ ____________
    32. Cash receipts
                                           45,000.00                    55,924.19              =       10,924.19
    33. Cash disbursements              $ ____________           –   $ ____________                $ ____________

                                            5,000.00             –        5,764.70             =          764.70
    34. Net cash flow                   $ ____________               $ ____________                $ ____________


    35. Total projected cash receipts for the next month:                                                                           55,000.00
                                                                                                                                $ ____________

    36. Total projected cash disbursements for the next month:                                                                - $ ____________
                                                                                                                                    50,000.00

    37. Total projected net cash flow for the next month:
                                                                                                                              = $ ____________
                                                                                                                                      5,000.00




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                                                                    25

Debtor Name   Barrio Restaurant Group, LLC
              _______________________________________________________                            24-01184-CL11
                                                                                     Case number_____________________________________




              8. Additional Information
    If available, check the box to the left and attach copies of the following documents.

     38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

     39. Bank reconciliation reports for each account.

     40. Financial reports such as an income statement (profit & loss) and/or balance sheet.

     41. Budget, projection, or forecast reports.

     42. Project, job costing, or work-in-progress reports.




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EXHIBIT A
BRG - MOR - JULY PAST DUE TOTAL OWED
Tiger Sanitation   $135.35       $406
Cintas - TX        $294.72   $1,064.66
SAWS (Water)      $1,091.58  $1,091.58
CPS Energy                   $4,382.27 pymt plan
             Case 24-01184-JBM11     Filed 09/18/24      Entered 09/18/24 09:04:38      Doc 58   Pg. 6 of
                                                          25
                                    Barrio Restaurant Group, LLC
                                                  Profit and Loss
                                                      July 2024


                                                                                                                TOTAL
Income
 Restaurant Sales                                                                                            51,815.88
Total Income                                                                                                $51,815.88
Cost of Goods Sold
 Alcohol Purchases                                                                                            2,621.21
 Food Costs                                                                                                   6,014.56
 Restaurant Supplies                                                                                          3,349.76
Total Cost of Goods Sold                                                                                    $11,985.53
GROSS PROFIT                                                                                                $39,830.35
Expenses
 Advertising & Marketing                                                                                      1,044.34
 Bank Charges & Fees                                                                                            148.02
 Car & Truck                                                                                                    643.81
 Contractors                                                                                                  8,717.00
 Dues & Subscriptions                                                                                             6.48
 Equipment Rental                                                                                               141.89
 Insurance                                                                                                      168.50
 Landscaping Service                                                                                             80.00
 Laundry & Cleaning                                                                                              62.54
 Meals & Entertainment                                                                                          522.60
 Merchant Service Fees                                                                                        1,302.90
 Office Supplies & Software                                                                                     154.54
 Payroll Service Fees                                                                                           729.75
 Payroll Tax Expenses                                                                                         1,978.40
 Payroll Wage Expenses                                                                                       20,935.00
 Postage & Shipping                                                                                              15.01
 Rent & Lease                                                                                                 4,516.25
 Repairs & Maintenance                                                                                          349.29
 Taxes & Licenses                                                                                               425.83
 Travel                                                                                                         414.72
 Utilities                                                                                                    1,582.09
Total Expenses                                                                                              $43,938.96
NET OPERATING INCOME                                                                                        $ -4,108.61
NET INCOME                                                                                                  $ -4,108.61




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                                                                  25


                     Barrio Restaurant Group, LLC
                             Balance Sheet
                                   As of July 31, 2024

                                                                     Total
ASSETS
 Current Assets
   Bank Accounts
     Checking-PNC Bank                                                        8,408.16
   Total Bank Accounts                                 $                      8,408.16
 Total Current Assets                                  $                      8,408.16
 Fixed Assets
   2024-Leasehold Improvements                                                5,272.82
 Total Fixed Assets                                    $                      5,272.82
TOTAL ASSETS                                           $                     13,680.98
LIABILITIES AND EQUITY
 Liabilities
   Current Liabilities
     Other Current Liabilities
       Loan Payable-Pable Rios                                                 -677.76
       Loan to Barrio Dogg LLC                                                9,234.81
       Payroll Net Pay                                                        3,754.78
     Total Other Current Liabilities                   $                     12,311.83
   Total Current Liabilities                           $                     12,311.83
 Total Liabilities                                     $                     12,311.83
 Equity
   Opening Balance Equity                                                     4,566.00
   Owner's Investment                                                         1,000.00
   Owner's Pay & Personal Expenses                                              -88.24
   Retained Earnings
   Net Income                                                                -4,108.61
 Total Equity                                          $                      1,369.15
TOTAL LIABILITIES AND EQUITY                           $                     13,680.98




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  0123               2453                 637ÿ9                51433                                 1 92ÿ0
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  0123              2453                 637ÿ9                51433                                 1 92ÿ0
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        Case 24-01184-JBM11                      Filed 09/18/24                  Entered 09/18/24 09:04:38                   Doc 58          Pg. 15 of
                                                                                  25
Business Checking
PNC Bank
                                 For the Period 07/01/2024 to 07/31/2024              Primary Account Number:               8966
                                                                                      Page 1 of 11
                                                                                      Number of enclosures: 0

                                 BARRIO RESTAURANT GROUP LLC #24-                          For 24-hour banking sign on to
                                 0118
                                 DEBTOR IN POSSESSION                                      PNC Bank Online Banking on pnc.com
                                 620 S PRESA ST                                            FREE Online Bill Pay
                                 SAN ANTONIO TX 78210-1054
                                                                                           For customer service call 1-877-BUS-BNKG
                                                                                           PNC accepts Telecommunications Relay Service (TRS)
                                                                                           calls.
                                                                                           Para servicio en espanol, 1-877-BUS-BNKG

                                                                                      Moving? Please contact your local branch

                                                                                           Write to: Customer Service
                                                                                           PO Box 609
                                                                                           Pittsburgh, PA 15230-9738
                                                                                           Visit us at PNC.com/smallbusiness

                                                                                                             Barrio Restaurant Group Llc #24-0118
Business Checking Summary                                                                                    Debtor In Possession
Account number:              8966


Overdraft Protection has not been established for this account.
Please contact us if you would like to set up this service.

Balance Summary
                                                Beginning                  Deposits and            Checks and other                 Ending
                                                  balance                other additions                deductions                 balance
                                               2,601.45                    61,689.19                    55,882.48             8,408.16




Overdraft and Returned Item Fee Summary
                                                         Total for this Period     Total Year to Date

Total Overdraft Fees                                                     .00                 36.00
Total Returned Item Fees (NSF)                                        36.00                 360.00


Deposits and Other Additions                                                        Checks and Other Deductions
Description                                     Items                  Amount       Description                                     Items               Amount
Deposits                                            6               7,230.00        Checks                                             44            26,417.55
ATM Deposits and Additions                          5               3,070.00        Debit Card Purchases                              145             7,623.68
ACH Additions                                       1                 868.86        POS Purchases                                      28               999.51
Other Additions                                    32              50,520.33        ATM/Misc. Debit Card                               10             2,746.14
                                                                                    Transactions
                                                                                    ACH Deductions                                     19            13,425.98
                                                                                    Service Charges and Fees                            6             1,331.96
                                                                                    Other Deductions                                    4             3,337.66
Total                                              44              61,689.19        Total                                             256            55,882.48

Daily Balance
Date                         Ledger balance             Date                           Ledger balance           Date                         Ledger balance
07/01                              8,007.74             07/08                              5,117.12             07/12                           1,845.94
07/02                              4,007.09             07/09                              4,216.60             07/15                           4,169.04
07/03                                546.87             07/10                              3,204.07             07/16                           3,117.87
07/05                                367.16             07/11                              1,835.88             07/17                           5,232.16




Daily Balance continued on next page
          Case 24-01184-JBM11                             Filed 09/18/24     Entered 09/18/24 09:04:38                 Doc 58        Pg. 16 of
                                                                              25
Business Checking
       For 24-hour account information, sign-on to                                         For the Period 07/01/2024 to 07/31/2024
       pnc.com/mybusiness/                                                                 Barrio Restaurant Group Llc #24-0118
                                                                                           Primary Account Number:            8966
Business Checking Account Number:                         8966 - continued                 Page 2 of 11

Daily Balance                - continued
Date                                  Ledger balance         Date                  Ledger balance          Date                      Ledger balance

07/18                                     1,032.41           07/24                    5,352.36             07/29                       10,170.27
07/19                                     1,999.96           07/25                    7,844.96             07/30                        9,655.25
07/22                                     7,224.78           07/26                    3,295.26             07/31                        8,408.16
07/23                                     6,894.06

Activity Detail
Deposits and Other Additions
Deposits
Date                                                        Transaction                                                                      Reference
posted                                           Amount     description                                                                        number
07/01                                        3,000.00       Zelle From Barrio Dogg Llc                                                USBtYJtj9PGa
07/03                                          200.00       Zel From Margarita Georgieva                                              USB3gp3jaq8t
07/05                                          580.00       Zelle From Barrio Dogg Llc                                               USB844cjaXN5
07/15                                          450.00       Zelle From Barrio Dogg Llc                                               USBFv3pjdNRx
07/17                                        1,000.00       Zelle From Barrio Dogg Llc                                               USBnfFmjen0L
07/25                                        2,000.00       Zelle From Barrio Dogg Llc                                               USBgccjjgG0Q

ATM Deposits and Additions
Date                                                        Transaction                                                                      Reference
posted                                           Amount     description                                                                        number
07/08                                          500.00       ATM Deposit 218 S Zarzamora San Antonio                         80530834 PNC PX3763
07/08                                          270.00       ATM Deposit 631 SW Military San Antonio                         79677332 PNC PJ4801
07/19                                          600.00       ATM Deposit 1014 Goliad Rd San Antonio                          81120458 PNC PJ4602
07/22                                          400.00       ATM Deposit 1014 Goliad Rd San Antonio                          81690020 PNC PJ4602
07/29                                        1,300.00       ATM Deposit 1014 Goliad Rd San Antonio                          88040402 PNC PJ4602

ACH Additions
Date                                                        Transaction                                                                      Reference
posted                                           Amount     description                                                                        number
07/17                                           868.86      Corporate ACH ADP Tax ADP Tax Lkgpt 6388599Vv                      00024198912035111

Other Additions
Date                                                        Transaction                                                                      Reference
posted                                           Amount     description                                                                        number
07/01                                        1,766.10       PNC Merchant Deposit 277324705999                                  277324705999      NKY
                                                            Effective 06-29-24
07/01                                        2,391.97       PNC Merchant Deposit 277324705999                                  277324705999      NKY
                                                            Effective 06-30-24
07/01                                        2,859.19       PNC Merchant Deposit 277324705999                                  277324705999      NKY
07/05                                        1,232.04       PNC Merchant Deposit 277324705999                                  277324705999      NKY
                                                            Effective 07-04-24
07/05                                        2,762.06       PNC Merchant Deposit 277324705999                                  277324705999 NKY
07/05                                        1,600.00       Account Transfer From 0000004734415713                             BARRIO RESTAURA
07/08                                          174.45       Reverse Check 0000001151                                                    014313934
                                                            Effective 07-05-24
07/08                                        1,980.89       PNC Merchant Deposit 277324705999                                  277324705999      NKY
                                                            Effective 07-06-24
07/08                                        2,682.14       PNC Merchant Deposit 277324705999                                  277324705999      NKY
                                                            Effective 07-07-24
07/08                                        1,670.67       PNC Merchant Deposit 277324705999                                  277324705999      NKY
07/09                                           96.78       PNC Merchant Deposit 277324705999                                  277324705999      NKY




Other Additions continued on next page
         Case 24-01184-JBM11                               Filed 09/18/24            Entered 09/18/24 09:04:38                      Doc 58   Pg. 17 of
                                                                                      25
Business Checking
    For 24-hour account information, sign-on to                                                 For the Period 07/01/2024 to 07/31/2024
    pnc.com/mybusiness/                                                                         Barrio Restaurant Group Llc #24-0118
                                                                                                Primary Account Number:            8966
Business Checking Account Number:                            8966 - continued                   Page 3 of 11

Other Additions                continued
Date                                                              Transaction                                                                          Reference
posted                                        Amount              description                                                                            number

07/10                                       731.61                PNC Merchant Deposit      277324705999                                277324705999         NKY
07/11                                       540.42                PNC Merchant Deposit      277324705999                                277324705999         NKY
07/12                                       599.25                PNC Merchant Deposit      277324705999                                277324705999         NKY
07/15                                     2,797.71                PNC Merchant Deposit      277324705999                                277324705999         NKY
                                                                  Effective 07-13-24
07/15                                     2,078.50                PNC Merchant Deposit      277324705999                                277324705999         NKY
                                                                  Effective 07-14-24
07/15                                     3,479.05                PNC Merchant Deposit      277324705999                                277324705999         NKY
07/17                                       940.71                PNC Merchant Deposit      277324705999                                277324705999         NKY
07/18                                     1,465.43                PNC Merchant Deposit      277324705999                                277324705999         NKY
07/19                                     1,233.99                PNC Merchant Deposit      277324705999                                277324705999         NKY
07/22                                     2,297.94                PNC Merchant Deposit      277324705999                                277324705999         NKY
                                                                  Effective 07-20-24
07/22                                     2,445.40                PNC Merchant Deposit      277324705999                                277324705999         NKY
                                                                  Effective 07-21-24
07/22                                     2,824.47                PNC Merchant Deposit      277324705999                                277324705999         NKY
07/23                                        51.62                PNC Merchant Deposit      277324705999                                277324705999         NKY
07/24                                       242.99                PNC Merchant Deposit      277324705999                                277324705999         NKY
07/25                                       787.16                PNC Merchant Deposit      277324705999                                277324705999         NKY
07/26                                       874.38                PNC Merchant Deposit      277324705999                                277324705999         NKY
07/29                                     1,920.31                PNC Merchant Deposit      277324705999                                277324705999         NKY
                                                                  Effective 07-27-24
07/29                                     3,329.52                PNC Merchant Deposit      277324705999                                277324705999         NKY
                                                                  Effective 07-28-24
07/29                                     2,114.98                PNC Merchant Deposit      277324705999                                277324705999         NKY
07/30                                        85.85                PNC Merchant Deposit      277324705999                                277324705999         NKY
07/31                                       462.75                PNC Merchant Deposit      277324705999                                277324705999         NKY

Checks and Other Deductions
Checks and Substitute Checks                                      * Gap in check sequence
Date   Check                                  Reference            Date   Check                         Reference     Date   Check                          Reference
posted number                          Amount   number             posted number              Amount      number      posted number             Amount        number
07/01    1120 *                          545.00       011418207    07/08   1154                190.00     015165498   07/25   1172                 254.30     014597542
07/29    1124 *                          640.00       016815744    07/10   1155                125.05     017217030   07/31   1174 *               336.00     017986520
07/01    1137 *                        1,250.00       011738426    07/11   1156                209.45     017730804   07/29   1175                  35.50     016482351
07/05    1141 *                          530.00       014143710    07/12   1157                 64.00     018459607   07/30   1176                 190.50     017675691
07/10    1142                            264.00       033787717    07/15   1158                101.50     019531932   07/05   50023 *            1,360.24     014143711
07/03    1144 *                          760.00       031456644    07/15   1160 *              470.00     019612420   07/09   50024                504.23     016192904
07/01    1145                            855.00       011737780    07/15   1161                955.00     032945097   07/05   50027 *              616.69     013911905
07/03    1146                          2,802.21       012995930    07/17   1162                360.00     035961985   07/08   50028                649.63     014802573
07/02    1147                            108.25       012584259    07/16   1163                905.00     009834319   07/15   50030 *            1,324.08     019510624
07/05    1148                            250.50       013726477    07/18   1164                620.00     011231820   07/22   50031                520.85     012269422
07/11    1149                            213.90       017510549    07/16   1166 *              112.00     009690873   07/24   50032              1,689.67     031291934
07/18    1150                            250.50       010670733    07/18   1167                166.00     011042512   07/18   50033              2,802.21     010692242
07/05    1151                            174.45       014313934    07/22   1169 *              750.00     081357529   07/18   50034                670.22     010734278
07/08    1152                            750.00       015351364    07/22   1170                228.25     012767091   07/18   50035                587.87     010691997
07/08    1153                             85.00       015455046    07/29   1171                140.50     016482331


Debit Card Purchases
Date                                              Transaction                                                                                          Reference
posted                           Amount           description                                                                                            number
07/01                               2.95          5692 Debit Card Purchase La Michoacana San Anto                                         75350910008065692182

                                                  San Antonio Tx
07/01                             32.44           5692 Debit Card Purchase The Home Depot #0503                                           75353910008065692182

                                                  San Antonio Tx



Debit Card Purchases continued on next page
         Case 24-01184-JBM11                               Filed 09/18/24      Entered 09/18/24 09:04:38           Doc 58        Pg. 18 of
                                                                                25
Business Checking
    For 24-hour account information, sign-on to                                        For the Period 07/01/2024 to 07/31/2024
    pnc.com/mybusiness/                                                                Barrio Restaurant Group Llc #24-0118
                                                                                       Primary Account Number:            8966
Business Checking Account Number:                           8966 - continued           Page 4 of 11

Debit Card Purchases                      - continued
Date                                              Transaction                                                                           Reference
posted                           Amount           description                                                                             number

07/01                             10.15           5692 Debit Card Purchase Circle K #2742293                                 75357910008065692182

                                                  San Antonio Tx
07/01                           750.00            6060 Debit Card Purchase Venmo 8558124430                                  65524910095936060182

07/01                            17.70            5692 Debit Card Purchase H-E-B #026 San Antoni                             75351910008065692182

07/01                            94.48            6060 Debit Card Purchase Hoodz Of Eastern San A                            65525910095936060182

                                                  210-2651086 Tx
07/01                             30.15           5692 Debit Card Purchase Texaco 0355589                                    75354910008065692182

                                                  San Antonio Tx
07/01                             31.34           5692 Debit Card Purchase La Michoacana San Anto                            83247910008065692183

                                                  San Antonio Tx
07/01                             38.99           5692 Debit Card Purchase Amazon Mktpl*Rc9Ro0Wo0                            75355910008065692182

                                                  Amzn.com/bi Wa
07/01                            30.53            5692 Debit Card Purchase H-E-B San Antonio Tx                              75352910008065692182

07/01                           168.50            6060 Debit Card Purchase First Enroll-Health Pl                            26085910095936060183

                                                  732-4408600 NJ
07/01                             12.98           5692 Debit Card Purchase Aviva San Antonio                                 83246910008065692183

                                                  San Antonio Tx
07/01                             29.96           5692 Debit Card Purchase Shell Oil 10000976000                             83243910008065692183

                                                  San Antonio Tx
07/01                             12.50           5692 Debit Card Purchase Py *Kung Fu Tea - San                             83241910008065692183

                                                  San Antonio Tx
07/01                             64.13           5692 Debit Card Purchase H-E-B #026 San Antoni                             83242910008065692183

07/01                              6.10           5692 Debit Card Purchase Grande H2O Llc                                    83248910008065692183

                                                  San Antonio Tx
07/01                             10.17           5692 Debit Card Purchase H-E-B #026 San Antoni                             83245910008065692183

07/01                              3.05           5692 Debit Card Purchase Grande H2O Llc                                    83244910008065692183

                                                  San Antonio Tx
07/02                             13.70           5692 Debit Card Purchase Restaurant Depot                                  03568910008065692184

                                                  San Antonio Tx
07/02                             30.15           5692 Debit Card Purchase Texaco 0304359                                    03570910008065692184

                                                  San Antonio Tx
07/02                             40.53           5692 Debit Card Purchase Rise Up San Antonio T                             03569910008065692184

07/03                             48.47           5692 Debit Card Purchase Wm Supercenter #5245                              65819910008065692185

                                                  San Antonio Tx
07/03                               5.98          5692 Debit Card Purchase La Fiesta #1 (s Flores                            65817910008065692185

                                                  San Antonio Tx
07/03                            33.41            5692 Debit Card Purchase H-E-B #026 San Antoni                             65818910008065692185

07/05                           423.18            5692 Debit Card Purchase Restaurant Depot                                  41137910008065692186

                                                  San Antonio Tx
07/05                             26.84           5692 Debit Card Purchase H-E-B #026 San Antoni                             41135910008065692186

07/05                             32.44           5692 Debit Card Purchase The Home Depot #0503                              11999910008065692187

                                                  San Antonio Tx
07/05                             19.49           5692 Debit Card Purchase Cnclaundry.Com                                    41136910008065692186

                                                  Httpscnclau Tx
07/05                             15.01           5692 Debit Card Purchase Fedex276657100730                                 12001910008065692187

                                                  Memphis Tn
07/05                             13.36           5692 Debit Card Purchase Wal-Mart #5245                                    12000910008065692187

                                                  San Antonio Tx


Debit Card Purchases continued on next page
         Case 24-01184-JBM11                               Filed 09/18/24      Entered 09/18/24 09:04:38           Doc 58        Pg. 19 of
                                                                                25
Business Checking
    For 24-hour account information, sign-on to                                        For the Period 07/01/2024 to 07/31/2024
    pnc.com/mybusiness/                                                                Barrio Restaurant Group Llc #24-0118
                                                                                       Primary Account Number:            8966
Business Checking Account Number:                           8966 - continued           Page 5 of 11

Debit Card Purchases                      - continued
Date                                              Transaction                                                                           Reference
posted                           Amount           description                                                                             number

07/08                             28.78           5692 Debit Card Purchase La Michoacana San Anto                            56880910008065692190

                                                  San Antonio Tx
07/08                           192.81            5692 Debit Card Purchase Restaurant Depot                                  24356910008065692189

                                                  San Antonio Tx
07/08                           160.18            5692 Debit Card Purchase Wm Supercenter #5245                              24358910008065692189

                                                  San Antonio Tx
07/08                               8.60          5692 Debit Card Purchase Family Dollar                                     24359910008065692189

                                                  San Antonio Tx
07/08                             12.52           5692 Debit Card Purchase Shell Oil 57542176102                             24360910008065692189

                                                  San Antonio Tx
07/08                             10.47           5692 Debit Card Purchase H-E-B #718 San Antoni                             24357910008065692189

07/08                             30.71           5692 Debit Card Purchase Circle K # 40921                                  24361910008065692189

                                                  San Antonio Tx
07/08                               2.60          5692 Debit Card Purchase Primo Water 1-844-23Pr                            56879910008065692190

                                                  Hunt Valley MD
07/08                             10.82           5692 Debit Card Purchase La Michoacana San Anto                            56881910008065692190

                                                  San Antonio Tx
07/08                               2.60          5692 Debit Card Purchase Primo Water 1-844-23Pr                            56882910008065692190

                                                  Hunt Valley MD
07/08                               2.60          5692 Debit Card Purchase Primo Water 1-844-23Pr                            56883910008065692190

                                                  Hunt Valley MD
07/09                             17.52           5692 Debit Card Purchase Chicho Boys Fruit Mark                            14423910008065692191

                                                  San Antonio Tx
07/09                             17.75           5692 Debit Card Purchase Py *Kungfu Tea                                    14424910008065692191

                                                  San Antonio Tx
07/09                           150.00            6060 Debit Card Purchase Venmo Visa Direct NY                              55236910095936060191

07/09                            35.18            5692 Debit Card Purchase Bbq Life Llc                                      14425910008065692191

                                                  San Antonio Tx
07/09                               3.24          5692 Debit Card Purchase Bbq Life Llc                                      14422910008065692191

                                                  San Antonio Tx
07/10                             12.75           5692 Debit Card Purchase Sams Club #4939                                   82823910008065692192

                                                  San Antonio Tx
07/10                             10.83           5692 Debit Card Purchase Cnclaundry.Com                                    82824910008065692192

                                                  Httpscnclau Tx
07/11                             22.93           5692 Debit Card Purchase La Michoacana San Anto                            12647910008065692193

                                                  San Antonio Tx
07/11                           301.44            5692 Debit Card Purchase Restaurant Depot                                  12646910008065692193

                                                  San Antonio Tx
07/11                               6.39          5692 Debit Card Purchase Mission Restaurant Sup                            12648910008065692193

                                                  San Antonio Tx
07/11                             11.20           5692 Debit Card Purchase Cnclaundry.Com                                    12650910008065692193

                                                  Httpscnclau Tx
07/11                             27.81           5692 Debit Card Purchase Sq *Solano Produce Llc                            12649910008065692193

                                                  San Antonio Tx
07/11                             52.49           5692 Debit Card Purchase Amazon Mktpl*Ry4Ak8Ak2                            12652910008065692193

                                                  Amzn.com/bi Wa
07/11                               6.50          5692 Debit Card Purchase La Luz Tortilla Factor                            12654910008065692193

                                                  San Antonio Tx


Debit Card Purchases continued on next page
         Case 24-01184-JBM11                               Filed 09/18/24      Entered 09/18/24 09:04:38           Doc 58        Pg. 20 of
                                                                                25
Business Checking
    For 24-hour account information, sign-on to                                        For the Period 07/01/2024 to 07/31/2024
    pnc.com/mybusiness/                                                                Barrio Restaurant Group Llc #24-0118
                                                                                       Primary Account Number:            8966
Business Checking Account Number:                           8966 - continued           Page 6 of 11

Debit Card Purchases                      - continued
Date                                              Transaction                                                                           Reference
posted                           Amount           description                                                                             number

07/11                               4.50          5692 Debit Card Purchase Adelita Tortilla Facto                            12651910008065692193

                                                  San Antonio Tx
07/11                             12.00           5692 Debit Card Purchase San Antonio Colonial T                            12653910008065692193

                                                  210-2761097 Tx
07/12                             23.99           5692 Debit Card Purchase Juice Joint San Anton                             91789910008065692194

07/12                             25.34           5692 Debit Card Purchase Coyote Express 1                                  91786910008065692194

                                                  San Antonio Tx
07/12                           119.89            5692 Debit Card Purchase H-E-B #026 San Antoni                             91788910008065692194

07/12                             2.90            5692 Debit Card Purchase H-E-B #026 San Antoni                             91787910008065692194

07/12                            77.00            6060 Debit Card Purchase Venmo Visa Direct NY                              38373910095936060194

07/15                            24.84            5692 Debit Card Purchase Amazon Mktpl*Ry9W30K50                            94764910008065692196

                                                  Amzn.com/bi Wa
07/15                             95.51           5692 Debit Card Purchase Restaurant Depot                                  94763910008065692196

                                                  San Antonio Tx
07/15                             55.86           5692 Debit Card Purchase Wm Supercenter #5245                              94762910008065692196

                                                  San Antonio Tx
07/15                             51.87           5692 Debit Card Purchase Sams Club #4939                                   94760910008065692196

                                                  San Antonio Tx
07/15                               7.25          5692 Debit Card Purchase Family Dollar                                     94761910008065692196

                                                  San Antonio Tx
07/15                             17.32           5692 Debit Card Purchase Family Dollar                                     94765910008065692196

                                                  San Antonio Tx
07/15                             11.98           5692 Debit Card Purchase La Michoacana San Anto                            99513910008065692197

                                                  San Antonio Tx
07/15                             88.65           5692 Debit Card Purchase The Home Depot 503                                99510910008065692197

                                                  San Antonio Tx
07/15                             67.70           5692 Debit Card Purchase Wm Supercenter #5245                              99511910008065692197

                                                  San Antonio Tx
07/15                             15.22           5692 Debit Card Purchase H-E-B #026 San Antoni                             99514910008065692197

07/15                              8.12           5692 Debit Card Purchase Family Dollar                                     99512910008065692197

                                                  San Antonio Tx
07/16                             34.17           5692 Debit Card Purchase La Michoacana San Anto                            18093910008065692198

                                                  San Antonio Tx
07/17                             38.21           5692 Debit Card Purchase Tst* Order Up Make Rea                            39603910008065692199

                                                  San Antonio Tx
07/17                               8.60          5692 Debit Card Purchase Family Dollar                                     39604910008065692199

                                                  San Antonio Tx
07/17                           139.74            5692 Debit Card Purchase H-E-B #026 San Antoni                             39605910008065692199

07/17                           148.73            5692 Debit Card Purchase Wm Supercenter #5245                              39606910008065692199

                                                  San Antonio Tx
07/18                           423.42            5692 Debit Card Purchase Restaurant Depot                                  46107910008065692200

                                                  San Antonio Tx
07/18                               4.60          5692 Debit Card Purchase Grande H2O Llc                                    46111910008065692200

                                                  San Antonio Tx
07/18                              6.11           5692 Debit Card Purchase H-E-B #026 San Antoni                             46108910008065692200

07/18                             49.77           5692 Debit Card Purchase Alamo Candy Company                               46109910008065692200

                                                  210-7348672 Tx




Debit Card Purchases continued on next page
         Case 24-01184-JBM11                               Filed 09/18/24      Entered 09/18/24 09:04:38           Doc 58        Pg. 21 of
                                                                                25
Business Checking
    For 24-hour account information, sign-on to                                        For the Period 07/01/2024 to 07/31/2024
    pnc.com/mybusiness/                                                                Barrio Restaurant Group Llc #24-0118
                                                                                       Primary Account Number:            8966
Business Checking Account Number:                           8966 - continued           Page 7 of 11

Debit Card Purchases                      - continued
Date                                              Transaction                                                                           Reference
posted                           Amount           description                                                                             number

07/18                               9.99          5692 Debit Card Purchase DD *Doordashdashpass                              46106910008065692200

                                                  Www.Doordas Ca
07/19                             12.99           5692 Debit Card Purchase Amazon Mktpl*Rs4044521                            65896910008065692201

                                                  Amzn.com/bi Wa
07/19                             97.22           5692 Debit Card Purchase Restaurant Depot                                  65897910008065692201

                                                  San Antonio Tx
07/19                             22.62           5692 Debit Card Purchase Family Dollar                                     65898910008065692201

                                                  San Antonio Tx
07/22                             36.79           6060 Debit Card Purchase Amazon.com*Rs79O27Z2                              00679910095936060203

                                                  Amzn.com/bi Wa
07/22                             24.90           5692 Debit Card Purchase Amazon Mktpl*Rj3A91Fw0                            10420910008065692203

                                                  Amzn.com/bi Wa
07/22                           100.00            5692 Debit Card Purchase Development Services                              10419910008065692203

                                                  210-2078375 Tx
07/22                             92.50           5692 Debit Card Purchase H-E-B #026 San Antoni                             10423910008065692203

07/22                              2.90           5692 Debit Card Purchase H-E-B #026 San Antoni                             10428910008065692203

07/22                             14.45           5692 Debit Card Purchase Family Dollar                                     10425910008065692203

                                                  San Antonio Tx
07/22                             20.42           5692 Debit Card Purchase Extra Fine 2                                      88476910008065692204

                                                  San Antonio Tx
07/22                             42.75           5692 Debit Card Purchase DD Doordash Albertson                             10430910008065692203

                                                  855-9731040 Ca
07/22                             11.72           5692 Debit Card Purchase Lyft Lyft.Com Ca                                  10421910008065692203

07/22                             40.55           5692 Debit Card Purchase DD Doordash Wondersli                             10418910008065692203

                                                  855-9731040 Ca
07/22                           424.31            5692 Debit Card Purchase Restaurant Depot                                  88477910008065692204

                                                  San Antonio Tx
07/22                             50.88           5692 Debit Card Purchase H-E-B #556 San Antoni                             10427910008065692203

07/22                              4.60           5692 Debit Card Purchase Grande H2O Llc                                    10422910008065692203

                                                  San Antonio Tx
07/22                             13.23           5692 Debit Card Purchase H-E-B #718 San Antoni                             10426910008065692203

07/22                             37.55           5692 Debit Card Purchase Extra Fine 2                                      88479910008065692204

                                                  San Antonio Tx
07/22                               6.43          5692 Debit Card Purchase H-E-B #026 San Antoni                             10429910008065692203

07/22                               2.50          5692 Debit Card Purchase Csc Servicework                                   10424910008065692203

                                                  San Antonio Tx
07/22                             43.25           5692 Debit Card Purchase The Home Depot #0503                              88478910008065692204

                                                  San Antonio Tx
07/22                             10.37           5692 Debit Card Purchase H-E-B San Antonio Tx                              88480910008065692204

07/22                             39.32           5692 Debit Card Purchase Wm Supercenter #5245                              88481910008065692204

                                                  San Antonio Tx
07/22                           168.01            5692 Debit Card Purchase Sams Club #4939                                   88483910008065692204

                                                  San Antonio Tx
07/22                             31.42           5692 Debit Card Purchase H-E-B #026 San Antoni                             88482910008065692204

07/23                             11.98           5692 Debit Card Purchase La Michoacana San Anto                            90176910008065692205

                                                  San Antonio Tx
07/23                             10.15           5692 Debit Card Purchase Circle K #2742293                                 90178910008065692205

                                                  San Antonio Tx


Debit Card Purchases continued on next page
         Case 24-01184-JBM11                               Filed 09/18/24      Entered 09/18/24 09:04:38           Doc 58        Pg. 22 of
                                                                                25
Business Checking
    For 24-hour account information, sign-on to                                        For the Period 07/01/2024 to 07/31/2024
    pnc.com/mybusiness/                                                                Barrio Restaurant Group Llc #24-0118
                                                                                       Primary Account Number:            8966
Business Checking Account Number:                           8966 - continued           Page 8 of 11

Debit Card Purchases                      - continued
Date                                              Transaction                                                                           Reference
posted                           Amount           description                                                                             number

07/23                             91.46           5692 Debit Card Purchase Sq *Solano Produce Llc                            90179910008065692205

                                                  San Antonio Tx
07/23                             18.75           5692 Debit Card Purchase Family Dollar                                     90177910008065692205

                                                  San Antonio Tx
07/24                             95.02           5692 Debit Card Purchase Ace Mart St Mary Store                            58115910008065692206

                                                  210-2240082 Tx
07/25                             39.76           5692 Debit Card Purchase DD Doordash Albertson                             43997910008065692207

                                                  855-9731040 Ca
07/25                                 .50         5692 Debit Card Purchase DD Doordash Vons                                  43998910008065692207

                                                  855-9731040 Ca
07/29                               2.50          5692 Debit Card Purchase Csc Servicework                                   03577910008065692210

                                                  San Antonio Tx
07/29                             30.29           5692 Debit Card Purchase Amazon Mktpl*Rv4NJ8Ts2                            03576910008065692210

                                                  Amzn.com/bi Wa
07/29                             10.81           5692 Debit Card Purchase Amazon Mktpl*Rv60T3Jy0                            03570910008065692210

                                                  Amzn.com/bi Wa
07/29                               6.10          5692 Debit Card Purchase Grande H2O Llc                                    03571910008065692210

                                                  San Antonio Tx
07/29                             64.71           5692 Debit Card Purchase H-E-B #026 San Antoni                             03579910008065692210

07/29                             54.42           5692 Debit Card Purchase Hung Phong Oriental Su                            03572910008065692210

                                                  San Antonio Tx
07/29                           301.49            5692 Debit Card Purchase Restaurant Depot                                  03574910008065692210

                                                  San Antonio Tx
07/29                             35.15           5692 Debit Card Purchase Texaco 0355589                                    03573910008065692210

                                                  San Antonio Tx
07/29                             56.17           5692 Debit Card Purchase H-E-B #556 San Antoni                             03580910008065692210

07/29                              6.47           5692 Debit Card Purchase Ace Mart St Mary Store                            42299910008065692211

                                                  210-2240082 Tx
07/29                               4.60          5692 Debit Card Purchase Grande H2O Llc                                    03584910008065692210

                                                  San Antonio Tx
07/29                               2.50          5692 Debit Card Purchase Csc Servicework                                   03582910008065692210

                                                  San Antonio Tx
07/29                             15.80           5692 Debit Card Purchase H-E-B #026 San Antoni                             03581910008065692210

07/29                             47.23           5692 Debit Card Purchase The Home Depot #0503                              42298910008065692211

                                                  San Antonio Tx
07/29                             11.88           5692 Debit Card Purchase Ace Mart St Mary Store                            42297910008065692211

                                                  210-2240082 Tx
07/29                             16.23           5692 Debit Card Purchase Amazon Prime*Rv38L2Gb2                            03578910008065692210

                                                  Amzn.com/bi Wa
07/29                             11.98           5692 Debit Card Purchase La Michoacana San Anto                            42295910008065692211

                                                  San Antonio Tx
07/29                             15.62           5692 Debit Card Purchase H-E-B #026 San Antoni                             03575910008065692210

07/29                             57.69           5692 Debit Card Purchase H-E-B #026 San Antoni                             03583910008065692210

07/29                             55.13           5692 Debit Card Purchase H-E-B #556 San Antoni                             42296910008065692211

07/29                             11.58           5692 Debit Card Purchase Family Dollar                                     42300910008065692211

                                                  San Antonio Tx
07/30                             30.15           5692 Debit Card Purchase Qt 4053 Inside                                    73925910008065692212

                                                  San Antonio Tx


Debit Card Purchases continued on next page
         Case 24-01184-JBM11                               Filed 09/18/24       Entered 09/18/24 09:04:38             Doc 58        Pg. 23 of
                                                                                 25
Business Checking
    For 24-hour account information, sign-on to                                           For the Period 07/01/2024 to 07/31/2024
    pnc.com/mybusiness/                                                                   Barrio Restaurant Group Llc #24-0118
                                                                                          Primary Account Number:            8966
Business Checking Account Number:                           8966 - continued              Page 9 of 11

Debit Card Purchases                      - continued
Date                                              Transaction                                                                              Reference
posted                           Amount           description                                                                                number

07/30                             63.39           5692 Debit Card Purchase Restaurant Depot                                     73922910008065692212

                                                  San Antonio Tx
07/30                             43.16           5692 Debit Card Purchase DD Doordash Sproutsfa                                73923910008065692212

                                                  855-9731040 Ca
07/30                           168.50            6060 Debit Card Purchase First Enroll                                         17605910095936060212

                                                  732-4408600 NJ
07/30                             80.00           6060 Debit Card Purchase Sq *Ramirez Lawn Care                                17604910095936060212

                                                  gosq.com Tx
07/30                               9.70          5692 Debit Card Purchase Chevron 0305850                                      73924910008065692212

                                                  Whitsett Tx
07/31                               2.30          5692 Debit Card Purchase Grande H2O Llc                                       88582910008065692213

                                                  San Antonio Tx
07/31                             15.99           5692 Debit Card Purchase H-E-B #026 San Antoni                                88584910008065692213

07/31                             12.16           5692 Debit Card Purchase H-E-B San Antonio Tx                                 88583910008065692213

POS Purchases
Date                                                            Transaction                                                                Reference
posted                                        Amount            description                                                                  number
07/01                                        123.95             POS Purchase Restaurant Dep San Antonio                   POS00A61328 6533605
07/01                                         18.76             POS Purchase Family Dollar San Antonio                    POS68368001 6533606
07/01                                         17.36             POS Purchase Family Dollar San Antonio                    POS68368001 6589168
07/02                                         43.89             POS Purchase Shell Service San Antonio                    POS84629301 1905251
07/03                                         10.15             POS Purchase Shell Service San Antonio                    POS55588201 2122521
07/05                                         29.32             POS Purchase Shell Service San Antonio                    POS84629301 4332706
07/08                                         69.55             POS Purchase Hung Phong Ori San Antonio                   POS06461792 6076210
07/09                                         20.11             POS Purchase H-E-B Gas/Car San Antonio                    POS87907802 1779771
07/09                                         10.15             POS Purchase Shell Service San Antonio                    POS55588201 1758884
07/09                                         33.12             POS Purchase Shell Service San Antonio                    POS55588201 1758883
07/10                                         21.61             POS Purchase Ace Mart St Ma San Antonio                   POS02305408 1758490
07/10                                         10.80             POS Purchase The Home Depot San Antonio                   POS06266758 1758493
07/10                                         16.23             POS Purchase Ace Mart St Ma San Antonio                   POS02305408 1758494
07/15                                         26.72             POS Purchase Shell Service San Antonio                    POS84629301 6273370
07/15                                         10.15             POS Purchase Family Dollar San Antonio                    POS68368001 6273371
07/15                                         49.52             POS Purchase Steves Food Ma San Antonio                   POS37373101 6273372
07/18                                         30.15             POS Purchase Shell Service San Antonio                    POS55589301 1811025
07/19                                         94.02             POS Purchase Specs #197 819 San Antonio                   POS99999999 2134278
07/19                                         35.15             POS Purchase Shell Service San Antonio                    POS55588201 2134279
07/19                                         32.44             POS Purchase The Home Depot San Antonio                   POS06111143 2134280
07/22                                         25.04             POS Purchase Shell Service San Antonio                    POS84629301 6263491
07/29                                         60.71             POS Purchase Shell Service San Antonio                    POS84629301 6150449
07/29                                         10.15             POS Purchase Circle K #2742 San Antonio                   POS64479002 6150450
07/29                                         51.60             POS Purchase Qt 4058 Outsid San Antonio                     POS001    6150451
07/30                                         15.47             POS Purchase Family Dollar San Antonio                    POS68368001 1693513
07/31                                         21.01             POS Purchase Office Depot 0 San Antonio                   POS99999999 1739084
07/31                                         63.15             POS Purchase Culebra Meat M San Antonio                   POS07457947 1739085
07/31                                         49.23             POS Purchase Michaels S San Antonio                         POS052    1739086
         Case 24-01184-JBM11                              Filed 09/18/24     Entered 09/18/24 09:04:38              Doc 58        Pg. 24 of
                                                                              25
Business Checking
    For 24-hour account information, sign-on to                                         For the Period 07/01/2024 to 07/31/2024
    pnc.com/mybusiness/                                                                 Barrio Restaurant Group Llc #24-0118
                                                                                        Primary Account Number:            8966
Business Checking Account Number:                         8966 - continued              Page 10 of 11

ATM/Misc. Debit Card Transactions
Date                                                        Transaction                                                                Reference
posted                                        Amount        description                                                                  number
07/01                                             88.68     5692 Recurring Debit Card Dnh*Godaddy#316542064             75356910008065692182
                                                            https://www Az
07/01                                       266.00          ATM Withdrawal 1014 Goliad Rd San Antonio                    PNCPJ4602 6533607
07/02                                         6.48          5692 Recurring Debit Card Paramount+ 888-27453              03571910008065692184
07/08                                       200.00          ATM Withdrawal 1014 Goliad Rd San Antonio                    PNCPJ4602 6093006
07/09                                       203.00          ATM Withdrawal 2906 Goliad Rd San Antonio                     PLU3784N 1779769
07/10                                        24.00          ATM Withdrawal *Alamo Heights San Antonio                   MACITXN1804 1758491
07/10                                       760.00          ATM Withdrawal 1014 Goliad Rd San Antonio                    PNCPJ4602 2320144
07/11                                     1,040.00          ATM Withdrawal 990 E Basse Rd San Antonio                    PNCPJ4674 2403362
07/18                                        44.34          5692 Recurring Debit Card Dnh*Godaddy#319426668             46110910008065692200
                                                            https://www Az
07/26                                        113.64         5692 Recurring Debit Card Fubotv Inc 844-44138              78214910008065692208

ACH Deductions
Date                                                        Transaction                                                                Reference
posted                                        Amount        description                                                                  number
07/02                                     2,519.45          Corporate ACH ADP Tax ADP Tax Lkgpt 070104A01                   00024183912346422
07/02                                        48.34          Corporate ACH Pay-By-Pay                                        00024183914916433
                                                            ADP Pay-By-Pay 931832677334Gpt
07/05                                         58.63         Corporate ACH Qbooks Onl Intuit * 3476201                       00024185904421328
07/05                                        100.00         Zel To Margarita Georgieva                                         PNCAA0LsM09u
07/08                                         85.32         ACH Web Spectrum Spectrum 4504149                               00024190902481190
07/10                                        325.83         Corporate ACH Fdms Pymt Fdms 052-2150044-000                    00024191908217457
07/10                                        108.04         ACH Debit Clover App                                            00024191909744115
                                                            Clover App Mrkt XXXXXXXXXXX-000
07/12                                        276.07         Corporate ACH ADP Fees                                          00024193906767166
                                                            ADP Payroll Fees 927833461320
07/15                                     2,528.42          Corporate ACH ADP Tax ADP Tax Lkgpt 071505A01                   00024194912513187
07/15                                       350.00          Corporate ACH ACH Pmt Amex Epayment W8644                       00024197903652887
07/15                                       173.13          ACH Debit Spectrum Spectrum 6971241                             00024197903774599
07/15                                        49.32          Corporate ACH Pay-By-Pay                                        00024194911969179
                                                            ADP Pay-By-Pay 926533170794Gpt
07/23                                       250.00          ACH Debit ACH Pmt Imprintp2 68Mksbd54Y9Dtpd                     00024205910558590
07/26                                     3,266.25          Corporate ACH Sigonfile Gjbrauncorporati Wkf4Rg                 00024208900658679
07/26                                     1,619.02          Corporate ACH XXXXXXXXXX                                        00024207908393766
                                                            Ben E. Keith Co 071921891
07/26                                        356.02         Corporate ACH ADP Fees                                          00024207908395903
                                                            ADP Payroll Fees 927634233603
07/26                                             69.15     ACH Web-Recur Affirm Pay Affirm Inc 0720290                     00024207909925530
07/29                                             32.99     Corporate ACH XXXXXXXXXX                                        00024208901408516
                                                            Ben E. Keith Co 071921891
07/31                                     1,210.00          Corporate ACH Cps Webpmt                                        00024212910627900
                                                            City Public Srv 003005565727

Service Charges and Fees
Date                                                        Transaction                                                                Reference
posted                                        Amount        description                                                                  number
07/01                                       100.10          Service Charge Period Ending 06/28/2024
07/02                                     1,176.91          PNC Merchant Discount 277324705999                              277324705999   NKY




Service Charges and Fees continued on next page
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                                                                                 25
Business Checking
    For 24-hour account information, sign-on to                                               For the Period 07/01/2024 to 07/31/2024
    pnc.com/mybusiness/                                                                       Barrio Restaurant Group Llc #24-0118
                                                                                              Primary Account Number:            8966
Business Checking Account Number:                          8966 - continued                   Page 11 of 11

Service Charges and Fees                             continued
Date                                                          Transaction                                                                     Reference
posted                                        Amount          description                                                                       number

07/02                                             12.95       PNC Merchant Fee        277324705999                              277324705999 NKY
07/08                                             36.00       Returned Item Fee (nsf)                                                    014313934
07/09                                              3.00       ATM Transaction Fee - Withdrawal                                 PLU3784N 1779770
07/10                                              3.00       ATM Transaction Fee - Withdrawal                                MACITXN1804 1758492

Other Deductions
Date                                                          Transaction                                                                     Reference
posted                                        Amount          description                                                                       number
07/05                                     1,690.00            Withdrawal                                                                  033919836
07/05                                     1,013.66            Withdrawal                                                                  033919803
07/10                                        62.00            Withdrawal                                                                  033054017
07/19                                       572.00            Account Transfer To        0000004734415713                          BARRIO DOGG LLC

Detail of Services Used During Current Period
Note: The total charge for the following services will be posted to your account on 08/01/2024 and will appear on your next statement as a single
line item entitled Service Charge Period Ending 07/31/2024.

** Combined Transactions include ACH Credits, ACH Debits, Checks Paid, Deposited Item - Consolidated, Deposit Tickets Processed

Description                                                                     Volume                    Amount
Account Maintenance Charge                                                                                  .00          Requirements Met
Combined Transactions                                                              62                       .00         Included in Account
  ACH Credits                                                                       1                       .00
  ACH Debits                                                                       18                       .00
  Checks Paid                                                                      43                       .00
Branch - Currency Furnished                                                       160                       .40
Cashier Checks                                                                      1                     15.00
Account Reconcilement Service                                                                             69.00
  Partial Recon Rev Pospay Monthly                                                  1                     20.00
  ARP/Positive Pay Returns                                                          7                     49.00
Automated Clearinghouse Service                                                                            6.00
  UPIC Monthly Maintenance                                                          1                      6.00
Information Services                                                                                      58.75
  PINACLE Essential Payments Monthly                                                1                     55.00
  PINACLE ACH Funds Txfer Templates                                                 1                       .75
  PINACLE Account Transfer-Reject                                                   1                      3.00
Total For Services Used This Period                                                                      149.15
Total Service Charge                                                                                     149.15

Business Checking - Maintenance Fee Relationship Pricing
These accounts were reviewed to meet the balance requirement and offset the monthly account maintenance fee for your Business Checking
account. *If the Met/Not Met Status reflects "No Fee", your most recent credit card statement balance is not reflected and you will not be charged the
Maintenance Fee for this statement cycle.
Account Type                               Ending In      Condition                                     As of                       Balance   Met/Not Met


PNC Merchant Deposits                                     This Cycle Deposits                           07/31/24                48,745.88
PNC Merchant Deposits
Total                                                                                                                           48,745.88           Met




Member FDIC                                                                     Equal Housing Lender
